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January 12, 2021

Hon. Jesse M. Furman
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

RE: Ibrahim Mizrahi Case No. 18-CR-889 (JMF), USM Number 86309-054

Dear Judge Furman:

       We are writing on behalf of our client, Mr. Ibrahim Mizrahi, to respectfully request a 60-
day extension of his January 23, 2020 voluntary surrender date to CI Moshannon Valley. This
Court has previously granted our requests for extension. See Dkts. 69, 76, 81, 84, 88.

        The Government opposes this request for reasons stated in its letter dated September 22,
2020, see Dkt. 86, and has informed undersigned counsel that it does not intend to file a new op-
position in response to this request. Despite the Government’s position, we maintain that an-
other extension is warranted given present circumstances.

        Since our last request, the COVID-19 pandemic has only worsened in the United States.
Over 22,000 lives were lost to COVID-19 last week, setting a new record for the second week
in a row. U.S. Sets COVID-19 Death Record for Second Straight Week, Cases Surge, Reuters
(Jan. 11, 2021), https://www.reuters.com/article/health-coronavirus-usa-trends/graphic-us-sets-
covid-19-death-record-for-second-week-cases-surge-idUSL1N2JM1NS. At the same time, new
cases continue to surge. The United States reported more than 1.7 million new cases of
COVID-19 last week, a 17% increase from the prior seven-day period. Id.

        A new and more contagious variant of the coronavirus has also begun rapidly spreading
across the United States. See New COVID-19 Variants, CDC, https://www.cdc.gov/corona-
virus/2019-ncov/transmission/variant.html (last updated Jan. 7, 2021). It has already been de-
tected in New York, where Mr. Mizrahi is presently located, and in Pennsylvania, where Mr.
Mizrahi is to surrender to CI Moshannon Valley. See id. (follow “View Cases” link).

         To date, the vaccine rollout process has taken longer than expected. Jared S. Hopkins &
Arian Campo-Flores, Covid-19 Vaccine’s Slow Rollout Could Portend More Problems, Wall St.
J. (Jan. 1, 2021), https://www.wsj.com/articles/covid-19-vaccines-slow-rollout-could-portend-
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more-problems-11609525711. Moreover, the vaccines are generally only available to
healthcare workers and residents of long-term care facilities at present, to be followed thereafter
by essential workers and the elderly. Id.; see also Phased Distribution of the Vaccine, N.Y.
Dep’t. Health, https://covid19vaccine.health.ny.gov/phased-distribution-vaccine#phase-1a (last
visited Jan. 12, 2021). It is thus unlikely that Mr. Mizrahi will be able to obtain a vaccination
anytime soon.

        In light of the foregoing, and as this Court has previously recognized, there remains a
clear “public health interest in not adding to the prison population at this time.” Dkt. 87. We
therefore respectfully request that this Court extend Mr. Mizrahi’s voluntary surrender date by
60 days from January 23, 2021 without prejudice. This extension will serve the best interest of
the public welfare, Mr. Mizrahi, and other inmates in federal prisons.

       We thank the Court for its attention to these matters, and are available to appear by tele-
phone for a conference to discuss this matter further.

Sincerely,


/s/ Daniel A. Schnapp
                                           Application GRANTED. Counsel shall promptly advise
                                           the Court if or when the Defendant arranges to be
Daniel A. Schnapp
                                           vaccinated. The Clerk of Court is directed to terminate
Partner
                                           Doc. #90. SO ORDERED.
DAS

cc: All counsel by ECF
                                                                    January 12, 2021
